           Case 4:18-cv-00167-BLW Document 1 Filed 04/17/18 Page 1 of 7




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Attorney for Plaintiff

                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF IDAHO

ALAOWEI W. MONIBIDOR,                                      )    Case No.: 4:18-cv-167
                                                           )
                         Plaintiff,                        )
v.                                                         )    COMPLAINT
                                                           )
WELLS FARGO BANK, NATIONAL                                 )    (Jury Trial Demanded)
ASSOCIATION, and WORST, FITZGERALD &                       )
STOVER, an Idaho professional limited liability            )
company.                                                   )
                                                           )
                  Defendants.                              )
___________________________________________                )

        COMES NOW the Plaintiff Alaowei W. Monibidor, by and through his counsel of record,

Ryan A. Ballard of Ballard Law, PLLC, and alleges his causes of action against Defendants as

follows:

                                        INTRODUCTION

1.   This is an action for damages brought by an individual consumer for Defendant Worst,

     Fitzgerald & Stover’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et

     seq. (hereinafter “FDCPA”), which prohibits debt collectors from engaging in abusive,

     deceptive, and unfair practices. Additionally, Plaintiff requests this Court exercise supplemental



Complaint - Page 1 of 7
           Case 4:18-cv-00167-BLW Document 1 Filed 04/17/18 Page 2 of 7



     jurisdiction under 28 U.S.C. § 1367 for a pendent state claim of abuse of process against both

     Defendants.

                             PARTIES, JURISDICTION, AND VENUE

2.   Plaintiff Alaowei W. Monibidor is a natural person residing in Madison County, Idaho, and is a

     "consumer" as that term is defined by 15 U.S.C. § 1692a(3).

3.   Defendant Worst, Fitzgerald & Stover is an Idaho professional limited liability company

     engaged in the business of collecting debts, using mails and telephone, in this state with its

     principal place of business located at 905 Shoshone Street N, Twin Falls, ID 83301.

4.   Worst, Fitzgerald & Stover is a "debt collector" as defined by 15 U.S.C. § 1692a(6).

5.   Worst, Fitzgerald & Stover is licensed to do business in Idaho and can be served through its

     registered agent, Timothy J. Stover, 905 Shoshone Street N, Twin Falls, ID 83301.

6.   Defendant Wells Fargo Bank, N.A. is a federal chartered bank with its principal place of

     business located at Wells Fargo Center, Sixth & Marquette N9305-173, Minneapolis, MN

     55479.

7.   Wells Fargo Bank is licensed to do business in Idaho and can be served through its registered

     agent, Corporation Service Company, 12550 W. Explorer Dr., Suite 100, Boise, ID 83713.

8.   This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1331.

9.   Venue is proper in this District because the acts and transactions occurred here and all the

     parties reside or transact business here.

                                      GENERAL ALLEGATIONS

10. Alaowei W. Monibidor opened a bank account and credit card account with Wells Fargo Bank

     in 2010.




Complaint - Page 2 of 7
          Case 4:18-cv-00167-BLW Document 1 Filed 04/17/18 Page 3 of 7



11. Due to financial difficulties, Mr. Monibidor stopped making the minimum monthly payments

    on his Wells Fargo Bank credit card around August 2016.

12. On January 3, 2017, Worst, Fitzgerald & Stover filed a complaint against Mr. Monibidor on

    behalf of Wells Fargo Bank.

13. That complaint was filed under Madison County Case No. CV-2017-001.

14. Worst, Fitzgerald & Stover functions as an agent of Wells Fargo Bank.

15. In that complaint, Wells Fargo Bank alleged Mr. Monibidor was in breach of his contract with

    Wells Fargo Bank and owed $5,661.59.

16. The complaint also asked for attorney fees in the amount of $925.00.

17. The summons Worst, Fitzgerald & Stover and Wells Fargo Bank drafted for the Court to issue

    identified Mr. Monibidor’s address as 490 Pioneer Rd, Apt. 5204, Rexburg, ID 83440.

18. On January 24, 2017, the Madison County Sheriff’s Office served Mr. Monibidor through his

    wife, at 490 Pioneer Rd, Apt. 5204, Rexburg, ID 83440.

19. On February 7, 2017, Mr. Monibidor filed a pro se answer which explained that Wells Fargo

    Bank had revoked his ability to access his account online and therefore he could not make

    payments.

20. In the answer, Mr. Monibidor listed his address as 490 Pioneer Rd, Apt. 5204, Rexburg, ID

    83440 and included a current phone number.

21. On March 10, Worst, Fitzgerald & Stover sent discovery requests to Mr. Monibidor at 490

    Pioneer Rd, Apt. 5204, Rexburg, ID 83440.

22. On September 28, 2017, Worst, Fitzgerald & Stover sent a motion for summary judgment,

    memorandum in support of motion for summary judgment, affidavit in support of motion for




Complaint - Page 3 of 7
          Case 4:18-cv-00167-BLW Document 1 Filed 04/17/18 Page 4 of 7



    summary judgment, and notice of hearing to Mr. Monibidor c/o National Debt Relief, 11

    Broadway, Suite #1600, New York, NY 10004.

23. National Debt Relief did not pass along a copy of the filings to Mr. Monibidor.

24. That is because National Debt Relief was not working on Mr. Monibidor’s behalf at the time

    the summary judgment package was sent to New York.

25. Mr. Monibidor enrolled with National Debt Relief on July 1, 2016 and terminated his

    relationship with that company on October 6, 2016.

26. Mr. Monibidor consented to Wells Fargo Bank communicating with National Debt Relief for

    purposes of settling his account.

27. He did not consent to Wells Fargo Bank sending summary judgment documents to National

    Debt Relief a year after he terminated his relationship with National Debt Relief.

28. Upon information and belief, National Debt Relief typically notifies creditors when it is no

    longer working for an individual.

29. Mr. Monibidor was unable to respond to the motion for summary judgment as he never had

    any notice that it had been filed.

30. Worst, Fitzgerald & Stover and Wells Fargo Bank also had the judgment sent to National Debt

    Relief, rather than to Mr. Monibidor.

31. On November 28, 2017, Wells Fargo Bank and its attorneys obtained judgment in the amount

    of $6,797.59, which included attorney fees and costs.

32. Mr. Monibidor had no notice a judgment had been entered until months later when he retained

    counsel, who discovery the judgment entry on the repository.




Complaint - Page 4 of 7
           Case 4:18-cv-00167-BLW Document 1 Filed 04/17/18 Page 5 of 7



33. On December 20, 2017, Wells Fargo Bank and its attorneys obtained an amended judgment in

     the amount of $7,933.59, which included the same amount of attorney fees and costs added in

     twice.

34. Three weeks after being contacted by Mr. Monibidor’s newly obtained counsel, Ryan A. Ballard

     of Ballard Law, PLLC, Worst, Fitzgerald & Stover and Wells Fargo Bank filed a motion

     admitting they had double dipped on attorney fees and costs and seeking a second amended

     judgment to correct the misrepresentation.

35. The alleged debt was primarily for personal, family, or household purposes, bringing

     Defendants’ collection efforts within the purview of the FDCPA. 15 U.S.C. § 1692a(5).

                              COUNT I: VIOLATION OF FDCPA – 1692f

36. The allegations of the prior paragraphs are incorporated as if fully set forth in this paragraph.

37. The FDCPA was enacted to “eliminate abusive debt collection practices by debt collectors, to

     insure that those debt collectors who refrain from using abusive debt collection practices are

     not competitively disadvantaged, and to promote consistent State action to protect consumers

     against debt collection abuses.” 15 U.S.C. § 1692(e).

38. “[T]he FDCPA is a remedial statute aimed at curbing what Congress considered to be an

     industry-wide pattern of and propensity towards abusing debtors.” Clark v. Capital Credit &

     Collection Services, Inc., 460 F.3d 1162, 1171 (9th Cir.2006).

39. It prohibits, and imposes strict liability and both statutory and actual damages for, a wide range

     of abusive and unfair practices. Donohue v. Quick Collect, Inc., 592 F.3d 1027, 1030 (9th Cir.2010)

40. 15 U.S.C. § 1692f prohibits a debt collector from using “unfair or unconscionable means to

     collect or attempt to collect any debt.”

41. It is unfair and unconscionable that Worst, Fitzgerald & Stover would prevent Mr. Monibidor


Complaint - Page 5 of 7
           Case 4:18-cv-00167-BLW Document 1 Filed 04/17/18 Page 6 of 7



     from being able to respond to the motion for summary judgment by not giving him proper

     notice of the filing.

42. It is unfair and unconscionable that Worst, Fitzgerald & Stover would double dip on attorney

     fees and costs, only seeking the correct judgment amount after Mr. Monibidor obtained legal

     representation.

43. Mr. Monibidor is entitled to statutory and actual damages due to Worst, Fitzgerald & Stover’s

     violations.

                             COUNT II: VIOLATION OF FDCPA – 1692e

44. The allegations of the prior paragraphs are incorporated as if fully set forth in this paragraph.

45. 15 U.S.C. § 1692e prohibits a debt collector from using any “false, deceptive, or misleading

     representation or means in connection with the collection of any debt.”

46. It was deceptive and misleading for Worst, Fitzgerald & Stover to send the motion for

     summary judgment and supporting documents, as well as the judgment, to an address where

     they were aware Mr. Monibidor did not reside and would not receive notice.

47. It was deceptive and misleading for Worst, Fitzgerald & Stover obtain judgment for the same

     attorney fees and costs twice, only seeking the correct judgment amount after Mr. Monibidor

     obtained legal representation.

48. Mr. Monibidor is entitled to statutory and actual damages due to Worst, Fitzgerald & Stover’s

     violations.

                                 COUNT III: ABUSE OF PROCESS

49. The allegations of the prior paragraphs are incorporated as if fully set forth in this paragraph.

50. Wells Fargo Bank and Worst, Fitzgerald & Stover took a willful act to use the legal process by

     sending a motion for summary judgment and supporting documents to an address where Mr.


Complaint - Page 6 of 7
            Case 4:18-cv-00167-BLW Document 1 Filed 04/17/18 Page 7 of 7



     Monibidor did not reside and would not receive notice of the filings.

51. Sending the filings to the wrong address was improper as it prevented Mr. Monibidor from

     being able to oppose the motion for summary judgment.

52. Wells Fargo Bank and Worst, Fitzgerald & Stover took a willful act to use the legal process by

     obtaining judgment which included the same attorney fees and costs twice.

53. Double dipping on attorney fees and costs was improper.

54. Such actions constitute an ulterior, improper purpose in utilizing the litigation process.

55. Mr. Monibidor is entitled to actual and punitive damages due to Defendants’ violations.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for a judgment against Defendants as follows:

       A. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1),

       B.    Statutory damages up to $1,000.00 per Defendant pursuant to

             15 U.S.C. § 1692k(a)(2)(A),

       C.    Leave to seek an amendment to the complaint at a later date to seek punitive damages

               pursuant to I.C. § 6-1604,

       D. Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k(a)(3),

       E.    In the event of default judgment, for attorney fees in the amount of $2,000.00,

       F.    For Court costs; and

       G. For such other and further relief as may be just and proper.

DATED: April 17, 2018.

                                                                       /s/ Ryan A. Ballard
                                                                       Ryan A. Ballard
                                                                       Ballard Law, PLLC




Complaint - Page 7 of 7
